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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  UNITED STATES OF AMERICA

         -against-                                   MEMORANDUM & ORDER

  TYQUAN MIDYETT,                                    07-CR-874 (KAM)

                         Defendants.

  ------------------------------------X

  MATSUMOTO, United States District Judge:

              Defendant Tyquan Midyett is charged in a February 2009

  superseding indictment (“Indictment”) with one count of

  conspiring, between May 2006 and December 2007, to distribute

  and possess with intent to distribute cocaine base in violation

  of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)(iii) (Count 1);

  three counts of distributing and possessing with intent to

  distribute cocaine base in violation of 21 U.S.C. §§ 841(a)(1),

  in, on and within 1,000 feet of (a) the real property comprising

  a private elementary and secondary school, and (b) the real

  property comprising a housing facility owned by a public housing

  authority in violation of 21 U.S.C. § 860(a) (Counts 2, 5 & 10);

  and one count of possessing a firearm after having previously

  been convicted of a crime punishable by a term of imprisonment

  exceeding one year in violation of 18 U.S.C. § 922(g)(1) (Count

  11).
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             By letter dated July 8, 2008, the government moves in

  limine to introduce at trial evidence of Midyett’s uncharged

  criminal act of allegedly possessing a gun on December 10, 2007,1

  as well as his November 30, 2000 arrest and subsequent

  conviction on March 7, 2001 for criminal possession of a

  controlled substance in the third degree.2             (Dkt. 95,

  Government’s Letter Motion to Introduce Evidence Pursuant to

  Rule 404(b) (“Gov. Mem.”), dated July 8, 2008, pp. 1-3.)               For

  the reasons set forth herein, the government’s motion is granted

  in part and denied in part.

  1
            In its July 8, 2008 submission, the government sought
  to introduce evidence of an uncharged gun possession by Midyett
  on July 3, 2007 (which the government mistakenly noted as July
  7, 2008 in its July 8, 2008 submission.) (Dkt. 95, Government’s
  Letter Motion to Introduce Evidence Pursuant to Rule 404(b)
  (“Gov. Mem.”), dated July 8, 2008, at p. 3.) However, the
  government subsequently charged Midyett with the July 3, 2007
  gun possession in the February 2009 superseding indictment
  (“Indictment”). (Dkt. 203, Government’s Reply in Support of
  Motion to Introduce Evidence Pursuant to Rule 404(b) (“Reply”),
  dated December 15, 2008, at p. 20 n. 3; Indictment, Count 11.)
  The government first sought the admission of the uncharged
  December 10, 2007 gun possession in its Reply, submitted on
  December 15, 2008. (Reply at p. 20 n. 3.)
  2
            The government initially sought to introduce evidence
  of a variety of uncharged and/or prior criminal acts of
  defendants Michael Brown, Nicholas Hayes, Brian Santano and
  Tyquan Midyett. (See Gov. Mem. at pp. 1-10.) However, in a
  letter dated February 9, 2009, the government withdrew its July
  8, 2008 motion regarding Midyett except with respect to its
  request to introduce evidence of (1) Midyett’s November 30, 2000
  arrest and subsequent conviction for criminal possession of a
  controlled substance on March 7, 2001, and (2) Midyett’s alleged
  gun possession on December 10, 2007. (Dkt. 238, Government’s
  Letter to the Court, dated February 9, 2009.)


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                                 I.     BACKGROUND

              The charges in the Indictment stem from Midyett’s

  alleged involvement in a conspiracy to sell crack cocaine in and

  around the Marcy Houses, a public housing complex run by the New

  York City Housing Authority in the Bedford-Stuyvesant

  neighborhood in Brooklyn, New York, beginning in or around May

  2006 and terminating in or around December 2007.3             (Indictment,

  Count 1.)   The government intends to present evidence that (1)

  Midyett participated in several crack cocaine transactions as

  part of the alleged conspiracy, some of which were captured on

  videotape; (2) during one of these videotaped narcotics

  transactions, on July 3, 2007, Midyett showed a cooperating

  witness a gun, which he referred to as the “Atlanta Police”

  handgun; (3) Midyett was arrested on January 9, 2007, along with

  co-defendant Michael Brown, during a search of Brown’s apartment

  at 125 Nostrand Avenue, from which officers seized 60-70 vials

  of crack cocaine and a .22 caliber revolver; from outside the

  apartment, officers also recovered additional vials of crack

  cocaine in a Ziploc-style bag, which had allegedly been thrown


  3
            Although the government’s moving and supporting papers
  set forth the term of the conspiracy as extending between May
  2006 and November 2007, the Indictment extends the period of the
  conspiracy as continuing from May 2006 through December 2007.
  (See Gov. Mem. at p. 6; Reply at p. 17; Indictment, Count 1.)
  Accordingly, the court accepts for purposes of deciding the
  instant motion, the Indictment’s charge that the alleged
  conspiracy existed between May 2006 and December 2007.

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  from Brown’s bathroom window; and (4) Midyett was again arrested

  for selling vials of crack cocaine to an undercover police

  officer at the Marcy Houses on December 10, 2007 and that the

  officer observed “the handle of a gun” on Midyett’s person

  during the transaction; the gun was never recovered.             (Gov.

  Reply at p. 3; dkt. 224, Government’s Sur-Reply in Support of

  Motion to Introduce Evidence Pursuant to Rule 404(b) (“Gov. Sur-

  Reply”), dated January 12, 2009, at p. 2); U.S. v. Brown et al.,

  No. 07-cr-874, 2009 U.S. Dist. LEXIS 7777, at *2, *10-31

  (E.D.N.Y. Feb. 3, 2009); U.S. v. Midyett, No. 07-cr-874, 2009

  U.S. Dist. LEXIS 8865, at *13, *15 (E.D.N.Y. Feb. 6, 2009).

             In the instant motion, the government seeks, inter

  alia, to introduce evidence of Midyett’s arrest on November 30,

  2000 at 125 Nostrand Avenue in the Marcy Houses in Brooklyn, New

  York under Federal Rule of Evidence 404(b).            (Gov. Mem. at p.

  3.)   The government intends to offer evidence that the police

  officer allegedly observed Midyett having difficulty opening a

  door and when he inquired whether there was a problem, Midyett

  allegedly attempted to grab the officer’s gun, attempted to

  assault the officer, and attempted to flee.            (Id.)   Midyett

  denies these allegations of a struggle with the police officer.

  (Dkt. 185, Midyett’s Response In Opposition to the Government’s

  Motion to Introduce Evidence Pursuant to Rule 404(b) (“Midyett

  Response”), dated December 1, 2008, at p. 4.)            The government

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  also seeks to introduce evidence that, upon his arrest, Midyett

  was found in possession of 60 vials of crack cocaine and

  subsequently pleaded guilty on March 7, 2001 to criminal

  possession of a controlled substance in the third degree, and

  was sentenced to one to three years in prison.            (Gov. Mem. at p.

  3.)

             The government also moves for the admission of

  evidence pursuant to Rule 404(b), or as direct proof of the drug

  conspiracy, or both, that, on December 10, 2007, Midyett was

  observed in possession of a firearm, specifically, a .9

  millimeter Smith and Wesson.      (Gov. Reply at p. 20 & n. 3.)

             Midyett argues in essence that the proffered evidence

  should be precluded under Federal Rule of Evidence 403, because

  its limited probative value is substantially outweighed by the

  danger of unfair prejudice.      (Midyett Response at pp. 2-4.)

  Midyett also contends that the proffered evidence is outside the

  scope of the conspiracy, and thus, is not relevant under Federal

  Rule of Evidence 402, however, as superseded in February 2009,

  the Indictment now charges that the conspiracy existed between

  May 2006 and December 2007.      (Midyett Response at pp. 4-5; Dkt.

  211, Midyett’s Sur-Reply in Opposition to the Government’s

  Motion to Introduce Evidence Pursuant to Rule 404(b) (“Midyett

  Sur-Reply”), dated December 23, 2008, at pp. 1-2); see supra at

  p. 3 n.3 & infra at p. 25 n.7.

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                                II.     DISCUSSION

           A. MOTION IN LIMINE
             The purpose of a motion in limine is to allow the

  trial court to rule in advance of trial on the admissibility and

  relevance of certain forecasted evidence. See Luce v. United

  States, 469 U.S. 38, 40 n.2 (1984); Palmieri v. Defaria, 88 F.3d

  136, 141 (2d Cir. 1996); Nat’l. Union Fire Ins. Co. v. L.E.

  Myers Co. Group, 937 F. Supp. 276, 283 (S.D.N.Y. 1996).

  Evidence should be excluded on a motion in limine only when the

  evidence is clearly inadmissible on all potential grounds.                See

  also Baxter Diagnostics, Inc. v. Novatek Med., Inc., No. 94-cv-

  5520, 1998 U.S. Dist. LEXIS 15093, at *11 (S.D.N.Y. Sept. 25,

  1998).   Indeed, courts considering a motion in limine may

  reserve judgment until trial, so that the motion is placed in

  the appropriate factual context.          See Nat’l. Union Fire Ins.

  Co., 937 F. Supp. at 287.      Further, the court’s ruling regarding

  a motion in limine is “subject to change when the case unfolds,

  particularly if the actual testimony differs from what was

  contained in the [movant’s] proffer.”          Luce, 469 U.S. at 41.

           B. ADMISSIBILITY OF MIDYETT’S
              NOVEMBER 30, 2000 ARREST AND SUBSEQUENT
              MARCH 7, 2001 CONVICTION UNDER RULE 404(b)

             The government moves to admit evidence of Midyett’s

  November 30, 2000 arrest at 125 Nostrand Avenue, Brooklyn, New

  York and his subsequent March 7, 2001 conviction for criminal


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  possession, as “other act” evidence, pursuant to Rule 404(b),

  regarding charges against Midyett for, inter alia, drug

  possession and distribution.      Federal Rule of Evidence 404(b)

  provides in relevant part:

                  Evidence of other crimes, wrongs, or
             acts is not admissible to prove the
             character of a person in order to show
             action in conformity therewith. It may,
             however, be admissible for other purposes,
             such as proof of motive, opportunity,
             intent, preparation, plan, knowledge,
             identity, or absence of mistake or
             accident . . . .

  Fed. R. Evid. 404(b).

             The Supreme Court has set forth four requirements for

  courts to follow in exercising their discretion under Rule

  404(b): “Prior bad-acts evidence must be (1) offered for a

  proper purpose, (2) relevant, and (3) substantially more

  probative than prejudicial. In addition, (4) at defendant’s

  request, the district court should give the jury an appropriate

  limiting instruction.”      United States v. Downing, 297 F.3d 52,

  58 (2d Cir. 2002) (citing Huddleston v. United States, 485 U.S.

  681, 691-92 (1988)).     Courts of the Second Circuit have adopted

  an “inclusionary approach” under Rule 404(b), admitting evidence

  of other crimes, wrongs or acts “unless it is introduced for the

  sole purpose of showing defendant’s bad character, or unless it

  is overly prejudicial under Fed. R. Evid. 403 or not relevant

  under Fed. R. Evid. 402.”      United States v. Pascarella, 84 F.3d

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  61, 69 (2d Cir. 1996).      In the Rule 404(b) context, the court

  need only determine that a “jury [could have] reasonably

  conclude[d] that the [other] act occurred and that the defendant

  was the actor.”    See Huddleston, 485 U.S. at 689.           The district

  court has broad discretion to admit evidence pursuant to Rule

  404(b), and its ruling will not be overturned on appeal absent

  abuse of discretion. See United States v. Carboni, 204 F.3d 39,

  44 (2d Cir. 2000).

             The Government contends that evidence of Midyett’s

  November 30, 2000 arrest and subsequent March 2001 conviction

  are admissible under Rule 404(b) because such evidence is

  probative of Midyett’s knowledge and/or intent, and thus, may

  rebut any defense in which Midyett claims a lack of requisite

  knowledge and/or intent.      Indeed, the government asserts that

  Midyett has already proffered defense theories that bring his

  state-of-mind into question.      Namely, based on Midyett’s own

  affidavit regarding his January 9, 2007 arrest, the government

  contends that Midyett intends to pursue a “mere presence”

  defense theory with respect to any charges stemming from the

  January 9, 2007 arrest.      (Dkt. 147, Midyett Affidavit (“Midyett

  Aff.”), sworn on September 10, 2008, at ¶¶ 2-3; Gov. Reply at

  pp. 15-16.)

             In this affidavit, Midyett states that, on January 9,

  2007, he was “visiting a legal resident of [125 Nostrand Avenue,

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  Apt. 2A]” and that he “was not engaged in any type of illegal

  activity” nor “observed any of the occupants . . . engaged in

  any type or form of illegal activity” when police officers

  conducted a search of the premises and found the vials of crack

  cocaine and a firearm, leading to the arrest of Midyett.

  (Midyett Aff. at ¶ 1-4); Brown, 2009 U.S. Dist. LEXIS 7777, at

  *1-2.   From these statements, the government concludes that

  Midyett is asserting that he (1) did not knowingly and

  intentionally possess the crack cocaine found in Apt. 2A on

  January 9, 2007 and (2) had an innocent motive for his presence

  at Apt. 2A, i.e. a visit to a friend.         (Gov. Reply at pp. 15-

  16.)    In sum, the government contends, Midyett is claiming that

  he was “merely present” at Apt. 2A at the time of the search.

  (Id.)

              The similarities between United States v. Rodriguez,

  53 F.3d 545 (2d Cir. 1995) and the instant case appear to

  support a finding that in placing his motive for visiting Apt.

  2A at issue, Midyett is also putting his state of mind at issue.

  See Rodriguez, 53 F.3d at 546.        However, in his Response,

  Midyett explicitly states that he has “not offered a defense

  based upon lack of knowledge [or] intent” (Midyett Response, at

  p. 6), and Midyett neglects to mention whether he intends to

  pursue such defenses at trial.        Accordingly, based on the

  current record, the court is reluctant to find that Midyett has

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put his knowledge or intent to commit the charged crimes at

issue for purposes of introducing 404(b) evidence in the

government’s case-in-chief.

           Even assuming that the government proffered the

evidence of Midyett’s November 30, 2000 arrest and March 7, 2001

conviction for a proper purpose, i.e. to prove knowledge or

intent, prior act evidence cannot be admitted as proof of

defendant’s knowledge or intent unless the other act is

           “sufficiently similar to the conduct at
           issue to permit the jury reasonably to draw
           from that act the knowledge [or intent]
           inference advocated by the proponent of the
           evidence.” United States v. Peterson, 808
           F.2d 969, 974 (2d Cir. 1987). “Similarity,
           being a matter of relevancy, is judged by
           the degree in which the prior act approaches
           near identity with the elements of the
           offense charged. There is no necessity for
           synonymity but there must be substantial
           relevancy . . . .” United States v.
           Kasouris, 474 F.2d 689, 692 (5th Cir. 1973)
           (emphasis in original). If the other-act
           evidence does not provide a reasonable basis
           for inferring knowledge or intent, its offer
           for that purpose should be rejected on
           grounds of relevance.

United States v. Aminy, 15 F.3d 258, 260 (2d Cir. 1994); see

Fed. R. Evid. 401 (“‘Relevant Evidence’ means evidence having

any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or

less probable than it would be without the evidence”).




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            Under Aminy, the court acknowledges some similarity

between the charged conduct in the Indictment, i.e. drug

possession and distribution, and Midyett’s November 30, 2000

arrest, i.e. Midyett’s possession of 60 vials of crack cocaine

at the time of his arrest.      Midyett’s alleged altercation with

the arresting officer on November 30, 2000, however, is distinct

from the drug possession and distribution offenses charged in

the Indictment.     There is no “near identity” between the

elements of the offenses charged and the alleged offenses

proffered by the government, including Midyett’s alleged attempt

to grab the officer’s gun, his alleged assault on the officer

and his alleged attempted flight preceding the November 30, 2000

arrest.    Moreover, Midyett is not charged with any criminal

conduct, e.g. assaulting an officer or resisting arrest, wherein

the details of the circumstances preceding his November 30, 2000

arrest could provide a reasonable basis to infer knowledge

and/or intent.

            Further, the court finds that any slight probative

value regarding the events preceding Midyett’s November 30, 2000

arrest is far outweighed by the prejudicial nature of such

evidence.    To determine whether evidence is unduly prejudicial,

the court considers the evidence in the context of the crime

alleged.    Evidence shall be excluded as unduly prejudicial when

it is “more inflammatory than the charged crime.”           United States

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v. Livoti, 196 F.3d 322, 326 (2d Cir. 1999); cf. United States

v. Pitre, 960 F.2d 1112, 1120 (2d Cir. 1992) (no unfair

prejudice where “evidence of prior narcotics transactions ‘did

not involve conduct any more sensational or disturbing than the

crimes with which [the appellants were] charged.’”) (quoting

United States v. Roldan-Zapata, 916 F.2d 795, 804 (2d. Cir.

1990)).   Where, as here, the prior conduct, namely, the alleged

scuffle and assault, bears no similarity to the crime charged,

the inflammatory and non-probative nature of the prior conduct

is almost assured.       Indeed, it is more than conceivable that

evidence of the November 30, 2000 arrest and particularly, of

the alleged altercation between Midyett and the arresting

officer would be more inflammatory, sensational and/or

disturbing to the jury than the charged offenses of drug

possession and distribution.       Accordingly, the court denies the

government’s application to introduce evidence of the November

30, 2000 arrest, including any evidence of the alleged

altercation between the police officer and Midyett.

           The court agrees with the government that evidence of

Midyett’s March 7, 2001 drug possession conviction, which

resulted from his November 30, 2000 arrest, would be admissible

to rebut any claim made by Midyett that he lacked the requisite

state of mind to commit the charged drug-related crimes.            “[I]t

is well settled that evidence of other crimes may be used to

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show a person’s knowledge or intent.”        United States v. Brand,

No. S1 04-cr-194, 2005 U.S. Dist. LEXIS 471, at *13 (S.D.N.Y.

Jan. 12, 2005) (citing United States v. Bok, 156 F.3d 157, 165-

66 (2d Cir. 1998)); United States v. Zackson, 12 F.3d 1178, 1182

(2d Cir. 1993) (“Where a defendant claims that his conduct has

an innocent explanation, prior act evidence is generally

admissible to prove that the defendant acted with the state of

mind necessary to commit the offense charged.”)          Further, as

Midyett was convicted of drug possession in March 2001, and is

presently charged for similar crimes occurring at the same

address (125 Nostrand Avenue), involving similar amounts (60-70

vials) of the same type of drug (crack cocaine), the court finds

that evidence of the prior conviction is “sufficiently similar”

and “substantially relevant” to the charged conduct to provide

the jury with a reasonable basis to infer knowledge and/or

intent, should Midyett raise the lack of intent or knowledge

defenses.    See Aminy, 15 F.3d at 260.      Finally, the probative

value of such evidence clearly outweighs any unfair prejudice,

as the March 2001 conviction involved similar conduct that is

not “any more sensational or disturbing” or “more inflammatory”

than the crimes with which Midyett is charged.          See Roldan-

Zapata, 916 F.2d at 804; Livoti, 196 F.3d at 326.

            Where, as here, the government’s evidence of uncharged

acts, e.g., the March 2001 conviction, “is offered to prove the

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defendant’s knowledge or intent, the offer of similar acts

evidence should await the conclusion of the defendant’s case and

should be aimed at a specifically identified issue.” United

States v. Ozsusamlar, 428 F. Supp. 2d 161, 167 (S.D.N.Y. 2006)

(quoting United States v. Figueroa, 618 F.2d 934, 939 (2d Cir.

1980)); Brand, 2005 U.S. Dist. LEXIS 471, at *13 (“other crimes

evidence offered to prove the defendant’s knowledge or intent

may be admitted only after the defendant has asserted a state of

mind defense, putting knowledge and intent at issue”)

(collecting cases).      Accordingly, the court denies the

government’s application to introduce evidence of the March 2001

conviction without prejudice.       The government may renew its

application to introduce this evidence at the conclusion of

Midyett’s case, if the government believes that Midyett has

placed his state of mind at issue.




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        C. ADMISSIBILITY OF MIDYETT’S DECEMBER 10, 2007 GUN
           POSSESSION AS EVIDENCE OF THE JULY 3, 2007 FELON-IN-
           POSSESSION CHARGE (INDICTMENT, COUNT 11).4

           The government also seeks to admit evidence of

Midyett’s alleged December 10, 2007 gun possession to prove that

Midyett, a felon, possessed a gun on July 3, 2007.           (Indictment,

Count 11; Gov. Reply at pp. 20-22.)        The evidence of the alleged

December 10 gun possession is likely to be presented during the

testimony of an undercover police officer (whose testimony at

the January 15-16, 2009 suppression hearing, the court

determined to be credible.)       Midyett, 2009 U.S. Dist. LEXIS

8865, at *25-26 n. 6.      The undercover conducted a buy-and-bust

operation at the Marcy Houses involving Midyett on December 10,

2007.   According to the undercover’s testimony, during a drug

transaction with Midyett -- in which the undercover bought vials

of crack cocaine from Midyett -- the undercover observed “the

handle of a gun” on Midyett’s person.        When Midyett noticed the

undercover looking at his gun, Midyett “smirked and said don’t

worry about that.”       Id. at *15-16 (quotations omitted).       Shortly

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          Although presented as support for its opposition to
sever, insofar as the government seeks to admit evidence of
Midyett’s July 3, 2007 gun possession as Rule 404(b) evidence of
Brown’s January 9, 2007 gun possession, the court denies this
application in its entirety. Even if, as the government posits,
“Midyett [were to] argue at trial that he had an innocent motive
for being present [in Brown’s apartment on January 9, 2007]
where the charged firearm was found,” the July 3 gun possession
by Midyett is not relevant to proving that Brown possessed a gun
seven months prior on January 9, 2007. (Gov. Sur-Reply at p.
3.)

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after the buy, Midyett was arrested by other detectives involved

in the operation.        Despite a thorough search of Midyett’s person

and the surrounding area, however, the gun observed by the

undercover was never recovered.        Id. at *13.

           Although the undercover never testified with regard to

the make or caliber of the gun at the January 15-16, 2009

suppression hearing, id. at *13-18, the government now states

that the gun in Midyett’s possession on December 10, 2007

(“December 10 gun”) was a .9 millimeter Smith and Wesson.              (Gov.

Reply at p. 20.)     The government offers no affidavits or other

evidentiary proof to support this statement.            Further, the

government states, in conclusory fashion, that the December 10

gun is the same gun that was observed in Midyett’s possession on

July 3, 2007 (“July 3 gun”).        (Id.)   However, with the exception

of Midyett’s reference to the July 3 gun as the “Atlanta Police”

handgun, the government offers no description of the July 3 gun

nor proffers any evidence that the December 10 gun and the July

3 gun are the same gun or even guns of a similar type and/or

caliber.   (Id. at 3-4, 20-22.)

           1. Admissibility As “Other Act”
              Evidence Under Rule 404(b).

           Based on its conclusory assertion that the December 10

gun and the July 3 gun are the same gun, the government contends

that evidence of Midyett’s December 10 gun possession is


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admissible under Rule 404(b) to prove that Midyett possessed the

same gun five months prior, i.e. on July 3, 2007.           (Id. at 20.)

           The court first notes that the government seeks to

introduce evidence under Rule 404(b) of Midyett’s subsequent

uncharged criminal conduct in contrast to the more usual case

scenarios involving prior criminal conduct offered to prove the

charged offense.     Nevertheless, the Second Circuit “has refused

to erect a per se bar to evidence of ‘other acts’ occurring

after the charged offense.”       United States v. Rutkoske, 506 F.3d

170, 177 (2d Cir. 2007).      Indeed, “[t]he fact that the evidence

involved a subsequent rather than prior act is of no moment,”

United States v. Germosen, 139 F.3d 120, 128 (2d Cir. 1998), and

the “admission of subsequent acts under Rule 404(b) is governed

by the same four-part test as prior acts,” i.e. (1) proper

purpose; (2) relevance; (3) probative value outweighs unfair

prejudice; and (4) limited jury instruction on defendant’s

request.   Rutkoske, 506 F.3d at 177; see also Sand v. Presley,

24 Fed. Appx. 12, 14 (2d Cir. 2001).

           The government contends that the proper purpose of the

December 10 gun possession is “to prove that Midyett had the

opportunity to possess” the same gun on July 3, 2007.            (Gov.

Reply at p. 20 (emphasis added).)        Based on the current record,

however, it is not clear whether the issue of opportunity will

be raised in this case.      Midyett’s defense may or may not raise

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issues to which testimonial evidence of the December 10 gun

possession may be relevant and admissible under Rule 404(b).5

Thus, the government may renew its application to admit the

December 10 gun possession as 404(b) evidence of the charged

July 3 gun possession at the conclusion of the defense’s case.

See Ozsusamlar, 428 F. Supp. 2d at 167.

           Further, assuming, arguendo, that opportunity is an

issue at trial, based on the present record, the relevance of

the December 10 gun possession to the charged July 3 gun

possession would still pose an obstacle to admission under Rules

402 and 403.    The court recognizes the potential danger of

unfair prejudice in permitting the introduction of an uncharged

gun possession to prove that the defendant had the opportunity


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          “Opportunity” is the only proper purpose currently
asserted by the government in seeking to introduce the December
10 gun possession as 404(b) evidence of the charged July 3
felon-in-possession offense. However, subsequent criminal
conduct has also been admitted under Rule 404(b) as evidence of,
inter alia, intent, knowledge and/or motive. See Rutkoske, 506
F.3d at 178 (where defendant argued a lack of knowledge at
trial, subsequent similar conduct was properly admitted under
Rule 404(b) as relevant and probative); Sand, 24 Fed. Appx. at
14 (“Courts may properly admit evidence of acts defendant took
subsequent to the crimes for which he is on trial in order to
prove defendant’s intent.”); Germosen, 139 F.3d at 128 (same);
United States v. Stokes, 229 Fed. Appx. 347, 348 (5th Cir. 2007)
(when defendant argued that he “did not knowingly possess the
firearm,” subsequent firearms offense admissible to prove intent
and knowledge.”); United States v. Lego, 855 F.2d 542, 546 (8th
Cir. 1988) (evidence of subsequent gun possession admissible
when defendant asserted that “he only carried the weapons on the
dates charged in the indictment because of the inducement of
government agents,” thereby raising an issue of motive.)

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to possess the gun on the date charged.        There is a high

likelihood that such evidence will be considered as

demonstrating the defendant’s propensity to possess guns in

general as opposed to demonstrating that he committed the

specific charged offense.      To balance against this high risk of

unfair prejudice, courts in the Second Circuit seem to require

substantial more relevancy, i.e similarity between the charged

gun possession and the uncharged gun possession, before

permitting the introduction of the uncharged gun possession as

evidence of the charged gun possession.        See Aminy, 15 F.3d at

260; see generally, United States v. Robinson, 560 F.2d 507, 513

(2d Cir. 1977); United States v. Belk, 2002 U.S. Dist. LEXIS

3427, at *3 (S.D.N.Y. Mar. 4, 2002); United States v. Slaughter,

2004 U.S. Dist. LEXIS 6836, at *1-4 (S.D.N.Y. Apr. 20, 2004).

Namely, the similarity required is not merely similarity between

the prior conduct and the charged offense, but rather evidence

that the gun involved in the uncharged criminal possession is

the same or similar to the gun involved in the charged offense.

Robinson, 560 F.2d at 513 (evidence that the defendant possessed

the same or a similar gun -- a .38 caliber -- ten weeks after

the charged offense held admissible under Rule 404(b) to prove

opportunity and identity); Belk, 2002 U.S. Dist. LEXIS 3427, at

*3 (the description of the gun observed by a witness one month

prior to the charged offense matched the description set forth

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in the indictment); Slaughter, 2004 U.S. Dist. LEXIS 6836, at

*1-2, *4 (evidence of prior gun possessions admissible to prove

opportunity, preparation and plan, where the two prior gun

possessions by defendant involved similar guns, i.e. a loaded

semi-automatic pistol, and “the defendant used the same method

of possessing the gun, [i.e.] with the separate magazine with

additional bullets.”)      Thus, without evidence that the December

10 gun is the same or of a similar type and caliber as the July

3 “Atlanta Police” gun, the court cannot make a relevance

determination.    Nor, on the current record, can the court

determine whether such evidence would be more probative of the

charged July 3 gun possession or more prejudicial and confusing

to the jury.

           Accordingly, the court denies without prejudice the

government’s application to introduce evidence of the alleged

December 10 gun possession as 404(b) evidence of the charged

July 3, 2007 felon-in-possession offense.         The government may,

however, renew its application at the conclusion of Midyett’s

case, if the defense raises any issues that may be properly

rebutted by Rule 404(b) evidence and the government presents

evidence that the December 10 gun and the July 3 gun are the

same gun or guns of a similar type and model.




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           2. Admissibility As Direct Evidence Of The
              Charged July 3, 2007 Felon-In-Possession.

           Although not raised by the government, the December 10

gun possession is also not admissible as direct evidence of the

July 3 gun possession charged in the indictment.

           It is well established in the Second Circuit that

“‘evidence of uncharged criminal activity is not considered

other crimes evidence under Fed. R. Evid. 404(b) if it [1] arose

out of the same transaction or series of transactions as the

charged offense, [2] if it is inextricably intertwined with the

evidence regarding the charged offense, or [3] if it is

necessary to complete the story of the crime on trial.’”            United

States v. Nektalov, 325 F. Supp. 2d 367, 370 (S.D.N.Y. 2004)

(quoting United States v. Carboni, 204 F.3d 39, 44 (2d Cir.

2000)).   However, “where it is not manifestly clear that the

evidence in question is intrinsic proof of the charged crime,

the proper course is to proceed under Rule 404(b).” Nektalov,

325 F. Supp. 2d at 372.

           In the instant case, there is nothing on the record to

show that the alleged subsequent December 10 gun possession (1)

“‘arose out of the same transaction or series of transactions’”

as the charged July 3 gun possession, (2) is “inextricably

intertwined with the evidence regarding the charged” July 3 gun

possession, or (3) “is necessary to complete the story of the


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crime on trial.”     Id.   Rather, the government has brought a

simple possession charge, founded on the contention that Midyett

had a specific weapon (the “Atlanta Police” handgun) on a

specific date (July 3, 2007).       Thus, “the charged      [July 3 gun

possession] crime is straightforward and may be fully understood

without reference to [evidence of the uncharged and alleged

December 10 gun possession.]”       United States v. Newton, No. S1

01-cr-635, 2002 U.S. Dist. LEXIS 2414, at *6 (S.D.N.Y. Feb. 14,

2002).

           Although not relied on by the government, the court

notes that United States v. Towne, 870 F.2d 880 (2d Cir. 1989)

does not support a finding of admissibility of the December 10

gun possession as direct evidence of the charged July 3 gun

possession.    In Towne, the court found that the district court

had not erred in admitting evidence of the defendant’s

possession of a Smith and Wesson pistol on dates other than the

single date specifically charged in the indictment as direct

evidence of the charged possession of a Smith and Wesson pistol.

Towne, 870 F.2d at 885-86.      However, unlike Towne, the

government in the instant case has proffered no evidence that

the December 10 gun, allegedly a .9 millimeter Smith and Wesson

firearm, is the same weapon or the same type of weapon as the

July 3 “Atlanta Police” gun for which Midyett is charged.             See

Belk, 2002 U.S. Dist. LEXIS 3427, at *5.        Further, the facts

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relating to the gun possession charge in Towne appear to have

raised issues of continuous possession and/or identity.             See

Towne, 870 F.2d at 886.      Indeed, the Towne court held that the

evidence of the other uncharged gun possessions was “not ‘other

crimes’ evidence within the meaning of Rule 404(b).            Rather, the

evidence was admitted to show that it was [defendant] and not

someone else who exercised continuous dominion and control over

the pistol . . . .”      Id. (emphasis in original) (noting that

“[t]he continuous possession of the same gun does not amount to

a series of crimes, but rather constitutes a single offense.”)

Here, continuous possession is not an issue because evidence of

the December 10 gun possession cannot be introduced to show

continuity of possession from July 3 through December 10, 2007,

given that Midyett is charged with the July 3 gun possession and

not the alleged December 10 gun possession.            Moreover, there has

been no indication that Midyett will present a defense arguing

that he was mistakenly identified as the person in possession of

the gun on July 3, 2007.      See Belk, 2002 U.S. Dist. LEXIS 3427,

at *6.

           Rather, the issues presented by Midyett’s July 3 gun

possession charge are more analogous to those present in United

States v. Belk, No. 01-cr-180, 2002 U.S. Dist. LEXIS 3427

(S.D.N.Y. Mar. 4, 2002).      There, like here, the government did

not offer any evidence that the uncharged gun possession

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involved a gun that was the same gun or the same type of gun as

the gun involved in the charged gun possession.6          Id. at *6.

There, like here, the issue to be determined at trial was

whether defendant was in possession of the charged gun, the

specific date in question.       Id.    Thus, in the absence of issues

such as those identified in Towne, and as the question of

continuous possession is not present for the July 3 gun

possession charge, the probative value of the alleged December

10 gun possession evidence as to Midyett’s guilt for the July 3

felon-in-possession charge is minimal at best.          Id.   Further, on

the present record, the highly prejudicial nature of the

December 10 gun possession far outweighs its minimal probative

value.   The jury should not be invited to assume that, because

Midyett was allegedly observed in possession of a .9 millimeter

Smith and Wesson firearm five months after the charged July 3

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          The court notes, however, that the descriptions of
both of the guns in Belk provide greater detail (and a better
basis on which to determine relevance and similarity of the guns
with respect to a Rule 404(b) analysis) than the descriptions of
the guns provided in the instant case. In Belk, the witness
allegedly observed a “large, black handgun” in the defendant’s
possession one month prior to his arrest and the gun seized by
police officers during the defendant’s arrest (and for which he
was charged) was a .45 caliber Colt pistol (i.e. a large, black
handgun). Belk, 2002 U.S. Dist. LEXIS 3427, at *5-6. In the
instant case, the government now alleges that, notwithstanding
the absence of such testimony by the undercover at the January
15-16, 2009 suppression hearing, the undercover observed a .9
millimeter Smith and Wesson firearm in Midyett’s possession on
December 10, 2007, whereas the gun for which Midyett is charged
with possessing on July 3, 2007 is only described as the
“Atlanta Police” gun.

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gun possession, he possessed the “Atlanta Police” firearm on

July 3, 2007.    See id. at *6-7.     Accordingly, evidence of the

December 10 gun possession is not admissible as direct evidence

of the July 3, 2007 felon-in-possession charge.

        D. ADMISSIBILITY OF MIDYETT’S DECEMBER 10, 2007 GUN
           POSSESSION AS EVIDENCE OF THE DRUG CONSPIRACY
           (INDICTMENT, COUNT 1).

           The government seeks, in the alternative, to admit

evidence of the December 10 gun possession to prove Midyett’s

participation in the charged drug conspiracy.7         (See Gov. Reply

at pp. 21-22; Indictment, Count 1.)        The Second Circuit has

“repeatedly approved the admission of firearms as evidence of

narcotics conspiracies, because drug dealers commonly keep

firearms on their premises as tools of the trade.”           United

States v. Vegas, 27 F.3d 773, 778 (2d Cir. 1994) (quotations

omitted); United States v. Becerra, 97 F.3d 669, 671 (2d Cir.

1996); United States v. Gadsen, No. 07-cr-3455, 2008 U.S. App.

LEXIS 24125, at *2-3 (2d Cir. Nov. 24, 2008) (“testimony about .

. . firearm possession during or around the time of a narcotics

conspiracy appropriately established [defendant’s] conduct

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          Although defense counsel asserts that the December 10,
2007 gun possession occurred after the termination of the drug
conspiracy, (Midyett Sur-Reply at pp. 1-2), the February 2009
superseding indictment sets the term of the conspiracy from May
2006 through December 2007. (See supra at p. 3 n. 3.)
Accordingly, as the December 10, 2007 gun possession occurred
during the conspiracy period, it is not considered subsequent
criminal conduct when it is proffered as evidence of the drug
conspiracy.

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during the charged conspiracy.”)         “‘Experience on the trial and

appellate benches has taught that substantial dealers in

narcotics keep firearms on their premises as tools of the trade

almost to the same extent as they keep scales, glassine bags,

cutting equipment and other narcotics equipment.’”           United

States v. King, No. 97-cr-1522, 1998 U.S. App. LEXIS 28265, at

*6 (2d Cir. Nov. 9, 1998) (quoting United States v. Wiener, 534

F.2d 15, 18 (2d Cir. 1976)).       Evidence of Midyett’s December 10

gun possession is therefore admissible to prove Midyett’s

participation in the alleged drug conspiracy.

           The government, however, does not specify whether they

seek to admit evidence of the alleged December 10 gun possession

as direct evidence of the conspiracy or as 404(b) evidence of

the conspiracy.     For the reasons set forth below, the court

finds that the December 10 gun possession is admissible as

direct evidence of the drug conspiracy charge, and thus, does

not reach the question of whether the evidence is admissible as

Rule 404(b) evidence of the drug conspiracy charge.

           1. Admissibility As Direct Evidence
              Of The Charged Drug Conspiracy.

           As stated above, in order for the December 10 gun

possession to be admissible as direct evidence of the drug

conspiracy it must (1) arise out of the same transaction or

series of transactions as the drug conspiracy; (2) be


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inextricably intertwined with the evidence regarding the drug

conspiracy; or, (3) be necessary to complete the story of the

drug conspiracy.     See Nektalov, 325 F. Supp. 2d at 370.

Moreover, where the government must prove a conspiracy existed,

evidence of acts committed in furtherance of the conspiracy is

not Rule 404(b) “other acts” evidence, but rather, it is direct

evidence of the acts charged in the Indictment.          United States

v. Concepcion, 983 F.2d 369, 392 (2d Cir. 1992).          If evidence is

determined to be admissible as intrinsic or direct proof of the

charged crimes, as distinguished from “other acts” under Rule

404(b), the government need not fulfill Rule 404(b)’s notice

requirement, and the Court is not required to instruct the jury

against making an improper inference of criminal propensity.

Nektalov, 325 F. Supp. 2d at 372.

           As part of the drug conspiracy, the government alleges

that Midyett and co-conspirators “took part in several cocaine

base transactions” in the Marcy Houses wherein confidential

informants, cooperating witnesses, or undercover police officers

purchased crack cocaine from Midyett and his co-conspirators on

or around May 2006 through December 2007.         (Gov. Reply at p. 3;

Indictment, Count 1); Midyett, 2009 U.S. Dist. LEXIS 8865, at

*15-16.   It was during one of these “buy-and-bust” transactions

on December 10, 2007 that an undercover police officer observed

“the handle of a gun,” i.e. the alleged .9 millimeter Smith and

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Wesson firearm, on Midyett’s person.        Id.; (Gov. Reply at pp. 3,

20.)   In essence, the alleged December 10 gun possession, which

the government seeks to introduce as direct evidence of the

conspiracy, was observed during a drug transaction involving the

same drug trafficked in, occurring within the same time period

of, and at the same location of the alleged drug conspiracy.

Taken together with the acknowledged principle in this Circuit

that drug dealers are known to carry firearms to protect and

strengthen their narcotics-trafficking organization, (and thus,

firearms are considered “tools of the narcotics trade,”) the

court finds that Midyett’s alleged December 10 gun possession

was in clear furtherance of the charged drug conspiracy charged

in the Indictment.       See United States v. Van Putten, 04-cr-803,

2005 U.S. Dist. LEXIS 4009, at *10, *14-15 (S.D.N.Y. Mar. 15,

2005).    Accordingly, the court finds the December 10 gun

possession to be intrinsically relevant to the drug conspiracy

charge.

            However, before ruling on the admissibility of the

alleged December 10 gun possession as intrinsic proof of the

drug conspiracy charge, the court must determine whether the

evidence’s probative value is outweighed by its prejudicial

effect.   Here, as previously stated, the alleged December 10 gun

possession is probative of Midyett’s participation in the drug

conspiracy.    As the undercover observed the gun during a drug

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transaction, which is alleged to be part and parcel of the

charged drug conspiracy, the court finds that the probative

value of the December 10 gun possession is not outweighed by any

prejudicial effect, since the gun evidence at issue is not

impermissibly more inflammatory or sensational than the charged

conduct, i.e. Midyett’s participation in the drug conspiracy.

Pitre, 960 F.2d at 1120; Livoti, 196 F.3d at 322.           Moreover,

based on the overwhelming consensus in this Circuit that

“handguns are tools of the narcotic trade,” courts have

uniformly held “that possible prejudice does not outweigh the

relevance.”    United States v. Viserto, 596 F.2d 531, 537 (2d

Cir. 1979); King, 1998 U.S. App. LEXIS 28265, at *6 (“district

court did not abuse its discretion in holding that the firearms

were relevant to the issues upon which [defendant] was tried and

that . . . [their] probative weight was not overbalanced by the

inflammatory tendency of the guns as evidence.”) (quotations and

citation omitted).       Thus, the court finds that the December 10

gun possession is admissible as direct evidence of the charged

drug conspiracy.




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                             III.   CONCLUSION

           For the foregoing reasons, (1) the court denies the

government’s application to introduce any evidence relating to

Midyett’s November 30, 2000 arrest, including any evidence of

the alleged altercation between Midyett and the arresting

officer.   (2) The court denies without prejudice the

government’s application to introduce evidence under Rule 404(b)

of the March 7, 2001 conviction for criminal possession in the

third degree.    The government may renew its application for

introduction of this evidence under Rule 404(b) at the

conclusion of the defense’s case if the defense raises any

issues that may be properly rebutted by Rule 404(b) evidence.

(3) The court denies without prejudice the government’s

application to introduce evidence of the alleged December 10 gun

possession as 404(b) evidence of the charged July 3, 2007 felon-

in-possession offense.      The government may renew its application

to introduce the alleged December 10 gun possession as 404(b)

evidence of the charged July 3, 2007 gun possession if the

defense raises any issues that may be properly rebutted by Rule

404(b) evidence and the government presents evidence that the

December 10 gun and the July 3 gun are the same gun or guns of a

similar make and model.      (4) The court finds that evidence of

the December 10, 2007 gun possession is not admissible as direct

evidence of the July 3, 2007 felon-in-possession charge.            And

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(5) the court grants the government’s application to introduce

evidence of the December 10 gun possession as direct evidence of

the charged drug conspiracy.



SO ORDERED.

Dated: February 22, 2009
       Brooklyn, New York

                                         _______    /s/______
                                         KIYO A. MATSUMOTO
                                         United States District Judge
                                         Eastern District of New York




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